            Case 2:09-cv-00648-SLB Document 15 Filed 07/20/09 Page 1 of 2                             FILED
                                                                                              2009 Jul-20 AM 11:19
                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA


                             UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION

DAVINA WASHINGTON,                             }
                                               }
          Plaintiff,                           }
                                               }
v.                                             }        CASE NO. CV 2:09-648-SLB
                                               }
EQUIFAX INFORMATION                            }
SERVICES, INC.; EXPERIAN                       }
INFORMATION SOLUTIONS, INC.                    }
                                               }
          Defendants.                          }


                                            ORDER


          The court has been advised by counsel that plaintiff has settled with defendant

Equifax Information Services, Inc. It is therefore ORDERED that defendant Equifax is

DISMISSED WITHOUT PREJUDICE to the right of plaintiff or defendant Equifax to

reopen the case against Equifax upon good cause shown within sixty (60) days, or to

submit a stipulated form of final judgment within sixty (60) days. The court retains

jurisdiction to enforce any settlement that these parties have reached.

          The case against defendant Experian Information Solutions, Inc. remains pending.

Because the time allowed for Experian to answer the Amended Complaint against it (doc.

13)1/ has not yet run, the scheduling conference set for July 21, 2009 is CANCELLED.




     1/
      “Doc. __” refers to the document number that the Clerk of the Court assigns to a filing when
it is made.
  Case 2:09-cv-00648-SLB Document 15 Filed 07/20/09 Page 2 of 2




DONE this 17th day of July, 2009.




                                    SHARON LOVELACE BLACKBURN
                                    CHIEF UNITED STATES DISTRICT JUDGE




                                      2
